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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                         U.S. Magistrate Judge S. Kato Crews

Civil Action No. 1:21-cv-01261-SKC

MILLENNIUM FUNDING, INC. et al,

      Plaintiffs,

v.

SHARKTECH, INC. et al,

      Defendants.


     CONSENT CASE PRACTICE AND TRIAL PREPARATION ORDER


       This Order imposes requirements that supplement the Scheduling Order,

 this Court’s Practice Standards for Civil Cases, and the Discovery Procedures for

 Pro Se Civil Cases (as applicable), in cases where all parties have consented to the

 jurisdiction of this Magistrate Judge. It also explains requirements for trial. This

 Order may not be modified by agreement of the parties.

                              A. MOTIONS PRACTICE

      1.     Page Limits and Format: All motions shall be doubled-spaced and in 12-

point font. Footnotes should also be in 12-point font. Except motions for summary

judgment, all motions and responses shall not exceed 16 pages. Motions and briefs

shall be combined and are considered one document for purposes of computing page

limits. Replies shall not exceed 11 pages. These page limits include the cover page



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through the certificate of service. Documents attached in support of a motion or

response shall not exceed 10 pages, while documents attached in support of a reply

shall not exceed five pages.

      2.     Surreplies: Surreplies are not allowed without leave of Court.

      3.     Motion to Exceed Page Limits: These motions must be supported by a

showing of good cause and specify the number of additional pages proposed, and the

reason(s) why those pages are necessary.

      4.     Dispositive Motions:

             a. Motions to Dismiss (Fed. R. Civ. P. 12(b)): Rule 12(b) motions are

                discouraged if the defect is correctable by filing an amended

                pleading. Rule 12(b) motions should not be stated in the alternative

                as a Rule 56 motion for summary judgment.

             b. Motions for Summary Judgment (Fed. R. Civ. P. 56)

                    i. Motions and responses shall not exceed 21 pages. Replies

                       shall not exceed 16 pages. These page limits include the cover

                       page through the certificate of service.

                   ii. The parties shall file separate Statements of Undisputed

                       Material Facts using the three-column chart found at

                       Attachment 1, as follows:

                          1. For the movant: A separate Statement of Undisputed

                               Material Facts in support of the motion must



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                          separately identify each material fact claimed to be

                          without dispute. Absent prior leave of Court, a movant

                          shall not file more than 80 separately-numbered

                          statements of undisputed material facts. In a three-

                          column format, the statement must state in numerical

                          sequence the undisputed material facts in the first

                          column, followed by a specific reference to material in

                          the record that establishes those undisputed facts in

                          that same column. The pages of the chart are not

                          included in the page limits for motions for summary

                          judgment.    There    is   no   page    limit   on   the

                          evidence/exhibits attached in support of the motion.

                       2. For the opposing party: A separate Statement of

                          Undisputed Material Facts in opposition to the motion

                          for summary judgment must contain the following in a

                          three-column format: (a) In the first column, the

                          verbatim entries that were prepared by the movant at

                          step one; (b) In the second column, directly opposite the

                          recitation of the movant’s material facts and supporting

                          evidence, the response must state whether the fact is

                          “disputed” or “undisputed.” An opposing party who



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                          contends the fact is “disputed” must state, in the second

                          column of the page directly opposite the fact in dispute,

                          the nature of the dispute followed by a specific

                          reference to material in the record that supports the

                          position that the fact is controverted. Also in the second

                          column, the opposing party shall set forth any

                          additional material facts which it contends are

                          undisputed, followed by a specific reference to material

                          in the record that establishes those additional material

                          facts as undisputed in that same column. Absent prior

                          leave of Court, a respondent to a summary judgment

                          motion shall not file more than 40 separately-

                          numbered statements of additional facts. The pages of

                          the chart are not included in the page limits for the

                          response.   There     is   no   page    limit   on    the

                          evidence/exhibits attached in support of the motion.

                       3. For the movant’s reply filing: A separate Statement of

                          Undisputed Material Facts in support of the motion

                          must contain the following in a three-column format:

                          (a) The first two columns shall contain the verbatim

                          entries prepared by movant at step one, and the



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                              verbatim entries prepared by the responding party at

                              step two; (b) In the third column, directly opposite the

                              recitation of the opposing party’s material facts and

                              supporting evidence, the reply must state whether the

                              fact is “disputed” or “undisputed.” The moving party

                              who contends the fact is “disputed” must state, in the

                              third column of the page directly opposite the fact in

                              dispute, the nature of the dispute followed by a specific

                              reference to material in the record that supports the

                              position that the fact is controverted. Also in the third

                              column, if the moving party contests the opposing

                              party’s dispute of the moving party’s recitation of

                              undisputed material fact, the moving party may make

                              specific reference to any additional supporting material

                              in the record.

                   iii. When making a specific reference to material in the record

                        which establishes a fact, general references are insufficient if

                        the document is longer than one page. A “specific reference”

                        means reference to: 1 a page number; a line number; a



1Only if the nature of the material fact does not permit a specific reference (e.g., “The
contract contains no provision for termination.”) is a general reference sufficient.


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                       paragraph number; a CM/ECF Docket entry number (with

                       additional internal specific reference provided); or any

                       combination of these references to assist the Court to easily

                       locate the pertinent information. The effort at specificity may

                       be further aided by highlighting, underlining, or manually

                       underscoring the pertinent information.

                  iv. In addition to filing its Statement of Undisputed Material

                       Facts with the Court, each party shall provide to the opposing

                       party an editable electronic version of its Statement in Word

                       format for the opposing party’s use in preparing its

                       Statement. Thus, for example, the moving party shall provide

                       its Statement to the opposing party, with the first column

                       completed. The opposing party shall provide its Statement to

                       the moving party, with the first and second columns

                       completed, and so on.

                    B. PROPOSED FINAL PRETRIAL ORDER

      Counsel and any pro se parties shall meet and confer sufficiently in advance

of the Final Pretrial Conference to jointly prepare a proposed Final Pretrial Order.

It shall be filed at least seven days before the combined Final Pretrial

Conference/Trial Preparation Conference, and a Word version should also be

emailed to chambers at Crews_Chambers@cod.uscourts.gov.



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         The proposed Final Pretrial Order should reflect the narrowing of issues to

those that will actually be tried, the witnesses that will be called, and the exhibits

that will be presented. The form proposed Final Pretrial Order available on our

district court’s website should be used, incorporating the following changes to that

form:

             •   Section 3: Claims and Defenses: Parties are discouraged from

                 submitting a narrative summary of the claims, defenses, facts, and

                 legal theories. If a narrative summary is submitted, it should not

                 exceed one page, and shall be in addition to the following: Separately

                 enumerate each claim and affirmative defense (a defense on which the

                 Defendant bears the burden of proof) that will be tried. (An example is

                 at Attachment 2.) For each claim and affirmative defense designate: 2

                          1. the standard of proof and controlling law; and,

                          2. each element that must be proved. Under each element,

                             identify the facts that establish that element, and

                             reference the witness whose testimony, or the exhibit the

                             contents of which, will establish that fact at trial.

             •   Section 4: Stipulations: To save time and expense, and to focus the

                 trial, the parties shall stipulate to all material facts that are not in




2   Any claims or affirmative defenses not specifically identified may be deemed waived.


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               dispute. 3 Stipulated facts will be included in a jury instruction

               given to the jury prior to opening statements.

           •   Section 6: Witnesses: In addition to listing witnesses as required by

               the form, the parties should also attach their witness lists using the

               form found here:

               http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJu

               dges/HonSKatoCrews.aspx

           •   Section 7: Exhibits: Only the parties’ exhibit lists should be

               attached, using the form found here:

               http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJu

               dges/HonSKatoCrews.aspx

           C. COMBINED FINAL PRETRIAL/TRIAL PREPARATION

                                      CONFERENCE

      Trial counsel and any pro se parties must appear at the combined Final

Pretrial/Trial Preparation Conference (“Conference”). The Court will review the

proposed Final Pretrial Order with counsel and any pro se parties to determine

what issues will ultimately be tried, what facts can be stipulated to, what factual

disputes require evidence, the time necessary for trial, and other trial related


3Please be cognizant of the difference between disputing the existence of a fact and
disputing the significance of that fact. A stipulation to the existence of a fact (e.g.,
that the sun set at 7:00 p.m. on the day in question) does not prevent the party from
arguing the significance of that fact (e.g., that there was or was not adequate daylight
at 7:00 p.m.).


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issues. If the case has not been sufficiently narrowed, an amended final pretrial

order may be required.

      Any problems in the trial setting or special needs for witnesses should be

addressed at the Conference. The unavailability of designated witnesses,

including “may call” and “will call” witnesses, will not constitute a basis for delay

in or continuance of the trial. Witnesses should be scheduled and available so the

trial will not be delayed waiting on a witness. Witnesses may be taken “out of

turn,” as necessary, to avoid any lag-time during trial.

                             D. TRIAL INFORMATION

      1.     Motions in Limine: Motions in limine are allowed and should be filed

within seven days after the Conference. Motions to exclude expert testimony must be

filed 30 days after the rebuttal expert witness disclosure deadline unless a different

date is provided in the Scheduling Order.

      2.     Trial Briefs: Trial briefs are encouraged only where there are unusual

issues of law. They should be filed 14 days before trial. They should not exceed 10

pages and should not attach exhibits.

      3.     Final Witness and Exhibit Lists: By no later than Noon on the Friday

before the start of trial, the parties shall submit their respective final witness and

exhibit lists via CM/ECF.

      4.     Access to the Courtroom Prior to Trial: The courtroom will be made

available to all parties before the start of trial so that the parties may bring in items



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 for trial or to test technical equipment. My Courtroom Deputy is Amanda Montoya.

 She can be reached at (303) 335-2096. Please contact Ms. Montoya in advance if you

 would like to access the courtroom prior to trial.

       5.      Jury Trials:

            a. Proposed Jury Instructions and Verdict Forms: Jury instructions and

               verdict forms shall be both e-filed on CM/ECF, and e-mailed to my

               chambers (Crews_Chambers@cod.uscourts.gov) in Word format, by no

               later than 14 days prior to the Conference. Counsel (and any pro se

               parties) shall confer and stipulate to as many instructions as possible.

               Up to four sets of instructions should be submitted to the Court, as

               necessary: (1) one set of stipulated jury instructions; (2) one set of

               opposed or disputed jury instructions; (3) one set of stipulated verdict

               forms (if any); and/or (4) one set of disputed or opposed verdict forms (if

               any). Jury instructions should be appropriately titled and must

               include citations to relevant authority in footnotes.

            b. Exhibits and Exhibit Notebooks:

                  i. Plaintiff’s exhibits should be marked using numbers. Defendant’s

                     exhibits should be marked using letters A through Z, then using

                     A-1 through A-99, then B-1 through B-99, etc. There should be

                     no duplicate exhibits between the parties’ lists. The




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                   parties must confer and stipulate to the admissibility of as

                   many exhibits as possible.

               ii. There will be no juror exhibit notebooks. Instead, the Court will

                   provide an Elmo projector and television screen for purposes of

                   publishing admitted exhibits to the jury. The parties may use the

                   Elmo system provided by the Court or may bring in their own

                   technology for purposes of publishing exhibits. Questions

                   concerning exhibits and courtroom equipment/technology may be

                   directed to Ms. Montoya.

               iii. Only three exhibit notebooks are necessary to provide: (1) one for

                   the witness stand (containing that party’s original exhibits,

                   properly marked and tabbed, with the pages of each exhibit

                   numbered); (2) one copy for the Court; and, (3) one copy for the

                   Court Reporter (if any).

         c. Voir Dire: If trial is to a jury, the Court will conduct an initial orientation

            and voir dire. The Court’s voir dire is designed to address issues of juror

            hardship. The Court will leave the inquiry of impartiality and potential

            juror bias to the parties during their voir dire. Unless the Court is

            persuaded otherwise, the parties will be permitted 20 minutes each to

            conduct voir dire. In most circumstances, the Court does not condone

            inculcating the jury pool with specific facts of the case during voir dire.



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               If there are questions about whether intended voir dire approaches that

               line, those questions should be raised during the Conference.

            d. Number of Jurors: The jury will normally consist of nine jurors, with

               each side afforded three peremptory challenges. The Court will inform

               the parties of the intended number of jurors for their specific case during

               the Conference.

            e. Notes by Jurors: Jurors will be permitted to take notes during trial.

            f. Time for Giving Jury Instructions: Preliminary instructions will be

               given prior to opening statements. Final instructions will be given after

               closing arguments.

       6.      Transcript of Proceedings: If a court reporter is available, the

 proceedings will be transcribed by the court reporter. If a court reporter is not

 available, the proceedings will be digitally recorded. Any request for transcripts

 should be directed to the courtroom deputy.




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 DATED: August 8, 2021.

                                          BY THE COURT



                                          _____________________________
                                          S. Kato Crews
                                          U.S. Magistrate Judge




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                               Attachment 1
        Format for Separate Statement of Undisputed Material Facts

 Movant’s Statement:




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 Opposing Party’s Statement:




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 Moving Party’s Reply Statement:




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                                Attachment 2
         Format for Section 3 of Proposed Final Pretrial Order Form

 Example:

 Claim 1: Breach of contract under Colorado law: Plaintiff has burden of proof by a
 preponderance of the evidence

       Elements: (1)-(3) offer, acceptance, consideration
                        (a) the parties stipulate that these elements are satisfied

                   (4) performance by the plaintiff
                         (a) On March 3, 2004, Peter Plaintiff delivered one
                         crate of widgets to Widget Packers, Inc. (Testimony
                         of Peter Plaintiff; Don Defendant; Exhibits 1, 4)
                         (b) The widgets conformed to the specifications in
                         the contract. (Testimony of Peter Plaintiff; Exhibit
                         2)
                         (c) The widgets were delivered on the date set by
                         the contract. (Exhibit 2)

                   (5) non-performance by the defendant
                         (a) Widget Packers, Inc. failed to remit payment on
                         the terms set by the contract. (Testimony of Barry
                         Bookkeeper; Exhibit 2)
                         (b) Peter Plaintiff has made several written demands
                         for payment. (Peter Plaintiff; Exhibits 3, 5, 7)

                   (6) damages
                         (a) Peter Plaintiff has been damaged in the contract
                         amount of $10,000. (Testimony of Peter Plaintiff; Exhibit
                         2).

  Claim 2: Unjust Enrichment under Colorado law: Plaintiff has burden of proof on
  all elements by a preponderance of the evidence

        Elements: (1) Defendant has received a benefit
                        (a) On March 3, 2004, Peter Plaintiff delivered one
                        crate of widgets to Widget Packers, Inc. pursuant
                        to a contractual agreement. (Testimony of Peter
                        Plaintiff; Don Defendant; Exhibits 1, 2, 4).

                   (2) the benefit is at the Plaintiff’s expense


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                          (a) Widget Packers, Inc. failed to remit payment on the
                          terms set by the contract. (Testimony of Barry
                          Bookkeeper, Exhibit 2)

                   (3) justice requires that Defendant reimburse the
                   Plaintiff for the benefit received
                          (a) The widgets have a market value of $15,000.
                          (Testimony of Peter Plaintiff)
                          (b) Don Defendant is in breach of the contract.
                          (Testimony of Peter Plaintiff)

 Affirmative Defense to Claim 2: Failure to mitigate under Colorado law: Defendant
 has burden of proof on all elements by a preponderance of the evidence

        Elements: (1) Plaintiff had a reasonable opportunity to avoid injury
                        (a) On March 5, 2004, Don Defendant left a
                        message on Peter Plaintiff’s voice mail offering to
                        return the crate of widgets unopened. (Testimony of
                        Don Defendant; Peter Plaintiff)
                        (b) On March 8, 2004, Don Defendant wrote to Peter
                        Plaintiff, offering to assign the contract for the
                        purchase of widgets to WidgetCo. (Don Defendant;
                        Warren Widget; Exhibit 6)

                   (2) Plaintiff unreasonably failed to avail itself of
                   opportunities to avoid injury
                         (a) Peter Plaintiff did not respond to the March 5,
                         2004 message. (Don Defendant)
                         (b) Peter Plaintiff did not respond to the March 8,
                         2004 (Don Defendant)

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